                             Case 24-11008-TMH                       Doc 1         Filed 05/14/24           Page 1 of 25

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           7
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Outfox Hospitality LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   93       4442547
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                              167 N. Green Street
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  Chicago                     IL         60607
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  U.S.A.
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                      N/A
                                              ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor         Outfox Hospitality LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ; Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above
                                          ;

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              
                                              __    4 __
                                              4 
                                                    __  5 __
                                                         1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      
                                          ; Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor          Outfox Hospitality LLC
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        
                                         ; No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
                                                       See Schedule 1
                                         ; Yes. Debtor _____________________________________________ Relationship _________________________
      business partner or an
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         
                                         ; Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real             
                                         ; Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                  
                                                  ; It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                                         See Schedule 2
                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                  
                                                  ; No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
             Outfox Hospitality LLC
            _______________________________________________________                              Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                         ; After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                         

                                          1-49                               1,000-5,000                                 25,001-50,000
 14. Estimated number of
                                          50-99                             
                                                                             ; 5,001-10,000                                50,001-100,000
     creditors
                                          100-199                            10,001-25,000                               More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                      $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                  
                                                                             ; $10,000,001-$50 million                     $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                   More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                      $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                  
                                                                             ; $10,000,001-$50 million                     $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                   More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of        Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            05/14/2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8/s/ Caroline Barry
                                             _____________________________________________
                                                                                                           Caroline Barry
                                                                                                           _______________________________________________
                                             Signature of authorized representative of debtor              Printed name

                                                   Secretary, Treasurer, and Designated Representative
                                             Title _________________________________________




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Debtor       Outfox Hospitality LLC
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      8 /s/ Dennis A. Meloro
                                          _____________________________________________            Date       05/14/2024
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Dennis A. Meloro
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Greenberg Traurig, LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         222 Delaware Avenue, Suite 1600
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Wilmington
                                         ____________________________________________________             DE
                                                                                                         ____________  19801
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (302) 661-7000
                                         ____________________________________                             melorod@gtlaw.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          4435
                                         ______________________________________________________  DE
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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              IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF DELAWARE

In re:                                     Chapter 7

DOMS MARKET LLC                            Case No. 24-_______ (__)

                  Debtor.                  EIN: XX-XXXXXXX

In re:                                     Chapter 7

DOMS MARKET HOLDCO INC.                    Case No. 24-_______ (__)

                  Debtor.                  EIN: XX-XXXXXXX

In re:                                     Chapter 7

FOXTROT HOLDINGS TEXAS,                    Case No. 24-_______ (__)
INCORPORATED
                 Debtor.                   EIN: XX-XXXXXXX

In re:                                     Chapter 7

FOXTROT INTERMEDIATE TEXAS,                Case No. 24-_______ (__)
INCORPORATED
                                           EIN: XX-XXXXXXX
                  Debtor.

In re:                                     Chapter 7

FOXTROT RETAIL INCORPORATED                Case No. 24-_______ (__)

                  Debtor.                  EIN: XX-XXXXXXX

In re:                                     Chapter 7

FOXTROT RETAIL DC, LLC                     Case No. 24-_______ (__)

                  Debtor.                  EIN: XX-XXXXXXX
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In re:                                                  Chapter 7

FOXTROT RETAIL FLORIDA, LLC                             Case No. 24-_______ (__)

                          Debtor.                       EIN: XX-XXXXXXX

In re:                                                  Chapter 7

FOXTROT RETAIL TEXAS, INCORPORATED                      Case No. 24-_______ (__)


                          Debtor.                        EIN: XX-XXXXXXX


In re:                                                  Chapter 7

FOXTROT VENTURES, INCORPORATED                          Case No. 24-_______ (__)

                          Debtor.                       EIN: XX-XXXXXXX

In re:                                                  Chapter 7

OUTFOX HOSPITALITY LLC                                  Case No. 24-_______ (__)

                          Debtor.                       EIN: XX-XXXXXXX

In re :                                                 Chapter 7

OUTFOX HOSPITALITY MIDCO LLC                            Case No. 24-_______ (__)

                          Debtor.                       EIN: N/A

                                           Schedule 1

                    Pending Bankruptcy Cases Filed by Affiliated Entities

        On the date hereof, each of the entities listed below filed a petition in the United States
Bankruptcy Court for the District of Delaware for relief under chapter 7 of title 11 of the United
States Code.

                 Doms Market LLC
                 Doms Market Holdco Inc.
                 Foxtrot Holdings Texas, Incorporated
                 Foxtrot Intermediate Texas, Incorporated
                 Foxtrot Retail Incorporated
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 Foxtrot Retail DC, LLC
 Foxtrot Retail Florida, LLC
 Foxtrot Retail Texas, Incorporated
 Foxtrot Ventures, Incorporated
 Outfox Hospitality LLC
 Outfox Hospitality Midco LLC
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              IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF DELAWARE

In re:                                     Chapter 7

DOMS MARKET LLC                            Case No. 24-_______ (__)

                  Debtor.                  EIN: XX-XXXXXXX

In re:                                     Chapter 7

DOMS MARKET HOLDCO INC.                    Case No. 24-_______ (__)

                  Debtor.                  EIN: XX-XXXXXXX

In re:                                     Chapter 7

FOXTROT HOLDINGS TEXAS,                    Case No. 24-_______ (__)
INCORPORATED
                 Debtor.                   EIN: XX-XXXXXXX

In re:                                     Chapter 7

FOXTROT INTERMEDIATE TEXAS,                Case No. 24-_______ (__)
INCORPORATED
                                           EIN: XX-XXXXXXX
                  Debtor.

In re:                                     Chapter 7

FOXTROT RETAIL INCORPORATED                Case No. 24-_______ (__)

                  Debtor.                  EIN: XX-XXXXXXX

In re:                                     Chapter 7

FOXTROT RETAIL DC, LLC                     Case No. 24-_______ (__)

                  Debtor.                  EIN: XX-XXXXXXX
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In re:                                                Chapter 7

FOXTROT RETAIL FLORIDA, LLC                           Case No. 24-_______ (__)

                         Debtor.                      EIN: XX-XXXXXXX

In re:                                                Chapter 7

FOXTROT RETAIL TEXAS, INCORPORATED                    Case No. 24-_______ (__)


                         Debtor.                      EIN: XX-XXXXXXX


In re:                                                Chapter 7

FOXTROT VENTURES, INCORPORATED                        Case No. 24-_______ (__)

                         Debtor.                      EIN: XX-XXXXXXX

In re:                                                Chapter 7

OUTFOX HOSPITALITY LLC                                Case No. 24-_______ (__)

                         Debtor.                      EIN: XX-XXXXXXX

In re :                                               Chapter 7

OUTFOX HOSPITALITY MIDCO LLC                          Case No. 24-_______ (__)

                         Debtor.                      EIN: N/A

                                         Schedule 2

                   Location of Property in Need of Immediate Attention

       Perishable goods owned by certain of the above-captioned debtors may be located in the
following leased locations:
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           Description                                     Address
 Foxtrot                    2136 S. Peoria St., Chicago, IL 60608
                            2801 N. Broadway St., Chicago, IL 60614
                            171 N. Green St., Chicago, IL 60607
                            23 West Maple St., Chicago, IL 60610
                            401 N. Wells St., Chicago, IL 60654
                            902 W. Armitage Ave., Chicago, IL 60614
                            1576 N. Milwaukee Ave., Chicago, IL 60622
                            1562 N. Wells St., Chicago, IL 60610
                            114 W. Chicago Ave., Chicago, IL 60610
                            3334 N. Southport Ave., Chicago, IL 60657
                            545 McClurg Ct., Chicago, IL 60611
                            435 N. Michigan Ave., Chicago, IL 60611
                            1019 W. Lake St., Chicago, IL 60607
                            1714 W. Division St., Chicago, IL 60611
                            233 S. Wacker Dr., Chicago, IL 60606
                            3649 N. Clark St., Chicago, IL 60613
                            1827 Adams Mill Rd., N.W., Washington, D.C. 20009
                            1601 Connecticut Ave., N.W., Washington, D.C. 20036
                            888 17th St. N.W., Washington, D.C. 20006
                            1267 Wisconsin Ave., N.W., Washington, D.C. 20007
                            1341 14th St. NW, Washington, D.C. 20005
                            660 Massachusetts Ave., N.W., Washington, D.C. 20001
                            1275 New Jersey Ave., S.E., Washington, D.C. 20003
                            7250 Woodmont Ave., Bethesda, MD 20814
                            4800 Burnet Rd., Ste. 600, Austin, TX 78756
                            301 W. 2nd St., Ste. 100, Austin, TX 78701
                            3606 Greenville Ave., Ste. A, Dallas, TX 75202
                            3130 Knox St., Dallas, TX 75205
                            1802 S. 1st St., Austin, TX 78704
                            2270 Guadalupe St., Austin, TX 78705
                            6565 Hillcrest Ave., Dallas, TX 75205
                            2822 McKinney Ave., Dallas, TX 75204
                            4121 Wilson Blvd., Arlington, VA 22203
                            701 King Street, Alexandria, VA 22314
                            1771 N. Pierce St., Arlington, VA 22209
 Dom’s Market               801 W. Diversey Pkwy, Chicago, IL 60614
                            1225 N. Wells St., Chicago, IL 60610




ACTIVE 697568931v3
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                             SECRETARY’S CERTIFICATE
                          ___________________________________

                                        April 23, 2024

       I, Caroline Barry, do hereby certify that I am the secretary, treasurer and designated
representative of Outfox Hospitality LLC, a Delaware limited liability company, and the
designated representative of each of its direct and indirect subsidiaries (listed on Exhibit A
attached hereto) (each, a “Company” and collectively, the “Companies”), and that, as such, I
am authorized to execute and deliver this certificate and hereby further certify that:

       1.    Effective as of the date first set forth above, the board of managers (the “Board”)
of Outfox Hospitality LLC held a meeting pursuant to notice duly given to all members of the
Board.

        2.      At such Board meeting, the Board approved and authorized, among other items,
Outfox Hospitality LLC and each other Company to file, or cause to be filed, a voluntary petition
and applicable schedules and statements for relief under the provisions of chapter 7 of
Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware and any
other petition for relief or reorganization or other order that may be desirable under applicable
law in the United States.

        3.      At such Board meeting, the Board further authorized, directed, and empowered
Caroline Barry as the designed representative of Outfox Hospitality LLC and each Company to
effect the foregoing.

                                        *      *       *
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         IN WITNESS WHEREOF, I have hereunto signed my name as of the date first set forth
above.

                                              COMPANY:

                                              OUTFOX HOSPITALITY LLC


                                              By:       /s/ Caroline Barry
                                              Name:     Caroline Barry
                                              Title:    Secretary, Treasurer   and   Designated
                                                        Representative




                                       SIGNATURE PAGE
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                                       EXHIBIT A

x   Outfox Hospitality MidCo LLC, a Delaware limited liability company

x   Doms Market HoldCo Inc., a Delaware corporation

x   Doms Market LLC, a Delaware limited liability company

x   Foxtrot Ventures, Incorporated, a Delaware corporation

x   Foxtrot Retail Incorporated, an Illinois corporation

x   Foxtrot Holdings Texas, Incorporated, a Texas corporation

x   Foxtrot Intermediate Texas, Incorporated, a Texas corporation

x   Foxtrot Retail Texas, Incorporated, a Texas corporation

x   Foxtrot Retail DC, LLC, a Washington D.C. limited liability company

x   Foxtrot Retail Florida, LLC, a Delaware limited liability company
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                                MINUTES OF THE MEETING

                              OF THE BOARD OF MANAGERS

                                          April 23, 2024

                                          1:30 p.m. CST

       A meeting of the board of managers (the “Board”) of Outfox Hospitality LLC, a Delaware

limited liability company, was held at the above time via videoconference pursuant to notice duly

given to all members of the Board.


       All members of the Board were present at the meeting. Also present at the meeting by

invitation of the Board was Caroline Barry, the treasurer of the company, Rob Twyman, the chief

executive officer of the company, and representatives of Greenberg Traurig, LLP, as counsel, and

Arete Capital Partners, as financial advisors. All meeting participants could speak to and hear one

another. No managers raised any objections to the occurrence of the meeting or any failure to

deliver notice to call the meeting. The chair of the Board called the meeting to order and asked

that Caroline Barry act as secretary of the meeting.


       The Board reviewed and considered, among other things, the financial condition of the
company and each of its direct and indirect subsidiaries (listed on Exhibit A attached hereto) (each,
a “Company” and collectively, the “Companies”), and reviewed and considered the
recommendations of each Company’s legal and other advisors as to the relative risks and benefits
of pursuing a bankruptcy proceeding under the provisions of title 11 of the United States Code (the
“Bankruptcy Code”).

       Upon motion duly called, the Board adopted the following resolutions set forth below:

        RESOLVED, that in the respective business judgment of the Board (including, for the
avoidance of doubt, the board of managers of Doms Market HoldCo Inc.), it is desirable and in the
best interest of each Company (including a consideration of its respective creditors and other
parties in interest) that each Company shall be, and hereby is, authorized to file, or cause to be
filed, a voluntary petition and applicable schedules and statements (each a “Petition” and
collectively, the “Petitions”) for relief under the provisions of chapter 7 of Bankruptcy Code in
the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) and
any other petition for relief or reorganization or other order that may be desirable under applicable
law in the United States.
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        FURTHER RESOLVED, that Caroline Barry is appointed as the secretary of each
Company, and, by and through Caroline Barry (the “Designated Representative”), each
Company is hereby authorized, directed, and empowered (i) to execute and verify the Petitions
and all documents ancillary thereto, and to cause each Petition to be filed with the Bankruptcy
Court, such Petition to be filed at such time as the Designated Representative executing such
Petition shall determine and to be in the form approved by the Designated Representative
executing such Petition, with the execution thereof by the Designated Representative being
conclusive evidence of the approval thereof by the Designated Representative; (ii) to make or
cause to be made prior to the execution thereof any modifications to each Petition or such ancillary
documents that, in the judgment of such Designated Representative, may be necessary,
appropriate, or desirable in connection with each of the Company’s bankruptcy case, and (iii) to
review the complete list of creditors of each Company (the “Creditor Matrix”) and to cause the
Creditor Matrix to be filed with the Bankruptcy Court and to execute and file a declaration in
support of such Creditor Matrix, which shall be filed at such time as the Designated Representative
shall determine and to be in the form approved by the Designated Representative executing such
Creditor Matrix, with the execution thereof by the Designated Representative being conclusive
evidence of the approval thereof by the Designated Representative.

        FURTHER RESOLVED, that subject to and contingent upon the filing of each Petition,
pursuant to the organizational documents of each Company and applicable state laws, each officer
of such Company will be, and hereby is, effective immediately following the filing, if any, of a
Petition by Company, terminated and removed as an officer such Company.

         FURTHER RESOLVED, that the Designated Representative is hereby authorized,
directed, and empowered from time to time, until the termination of such Designated
Representative as set forth herein, to take such actions and execute and deliver such documents as
may be required or as the Designated Representative may determine to be necessary, appropriate,
or desirable to carry out the intent and purpose of the foregoing resolutions or to obtain the relief
sought thereby, including without limitation the execution and delivery of any petitions, schedules,
lists, applications, declarations, affidavits, and other papers or documents, with all such actions to
be taken in such manner, and all such petitions, schedules, lists, motions, applications,
declarations, affidavits, and other papers or documents to be executed and delivered in such form
as the Designated Representative taking or executing the same shall approve, the taking or
execution thereof by such Designated Representative being conclusive evidence of the approval
thereof by the Designated Representative.

        FURTHER RESOLVED, that all acts and deeds previously performed by the Designated
Representative prior to the adoption of the foregoing recitals and resolutions that are within the
authority conferred by the foregoing recitals and resolutions, are hereby ratified, confirmed,
adopted and approved in all respects as the authorized acts and deeds of each Company; and

        FURTHER RESOLVED, that each Company is authorized, empowered and directed to
employ the law firm of Greenberg Traurig, LLP, as general bankruptcy counsel to represent and
assist each Company in preparing and filing the Petition and related forms, schedules, lists,
statements and other papers or documents.

There being no further business, the meeting was adjourned.
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                            /s/ Caroline Barry
                            Caroline Barry,
                            Secretary
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                                       EXHIBIT A

x   Outfox Hospitality MidCo LLC, a Delaware limited liability company

x   Doms Market HoldCo Inc., a Delaware corporation

x   Doms Market LLC, a Delaware limited liability company

x   Foxtrot Ventures, Incorporated, a Delaware corporation

x   Foxtrot Retail Incorporated, an Illinois corporation

x   Foxtrot Holdings Texas, Incorporated, a Texas corporation

x   Foxtrot Intermediate Texas, Incorporated, a Texas corporation

x   Foxtrot Retail Texas, Incorporated, a Texas corporation

x   Foxtrot Retail DC, LLC, a Washington D.C. limited liability company

x   Foxtrot Retail Florida, LLC, a Florida limited liability company
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              IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF DELAWARE

In re:                                     Chapter 7

DOMS MARKET LLC                            Case No. 24-_______ (__)

                  Debtor.                  EIN: XX-XXXXXXX

In re:                                     Chapter 7

DOMS MARKET HOLDCO INC.                    Case No. 24-_______ (__)

                  Debtor.                  EIN: XX-XXXXXXX

In re:                                     Chapter 7

FOXTROT HOLDINGS TEXAS,                    Case No. 24-_______ (__)
INCORPORATED
                 Debtor.                   EIN: XX-XXXXXXX

In re:                                     Chapter 7

FOXTROT INTERMEDIATE TEXAS,                Case No. 24-_______ (__)
INCORPORATED
                                            EIN: XX-XXXXXXX
                  Debtor.

In re:                                     Chapter 7

FOXTROT RETAIL INCORPORATED                Case No. 24-_______ (__)

                  Debtor.                  EIN: XX-XXXXXXX

In re:                                     Chapter 7

FOXTROT RETAIL DC, LLC                     Case No. 24-_______ (__)

                  Debtor.                  EIN: XX-XXXXXXX
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In re:                                                     Chapter 7

FOXTROT RETAIL FLORIDA, LLC                                Case No. 24-_______ (__)

                            Debtor.                        EIN: XX-XXXXXXX

In re:                                                     Chapter 7

FOXTROT RETAIL TEXAS, INCORPORATED                         Case No. 24-_______ (__)

                            Debtor.
                                                           EIN: XX-XXXXXXX
In re:                                                     Chapter 7

FOXTROT VENTURES, INCORPORATED                             Case No. 24-_______ (__)

                            Debtor.                        EIN: XX-XXXXXXX

In re:                                                     Chapter 7

OUTFOX HOSPITALITY LLC                                     Case No. 24-_______ (__)

                            Debtor.                        EIN: XX-XXXXXXX

In re :                                                    Chapter 7

OUTFOX HOSPITALITY MIDCO LLC                               Case No. 24-_______ (__)

                            Debtor.                        EIN: N/A

                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                     AND LIST OF EQUITY INTEREST HOLDERS

          Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

following are corporations (as the term is defined in 11 U.S.C. § 101(9)), other than a governmental

unit, that directly or indirectly own 10% or more of any class of any of the above-listed debtors

(collectively, the “Debtors”) of these chapter 11 cases.




                                                  2
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       1.      The following entities own 10% or more of any class of membership interests of

Debtor Outfox Hospitality LLC:

      DKM HoldCo LLC

      FT Holdings, LLC

      D1 Master Holdco 1 LLC

      Doms Market CA LLC


       2.      Debtor Outfox Hospitality LLC owns 100% of the membership interest of Debtor

Outfox Hospitality Midco LLC

       3.      Debtor Outfox Hospitality Midco LLC owns 100% of the stock of each of Debtor

Doms Market Holdco Inc. and Debtor Foxtrot Ventures, Incorporated.

       4.      Debtor Doms Market Holdco Inc. owns 100% of the stock of Debtor Doms

Market LLC.

       5.      Debtor Foxtrot Ventures, Incorporated owns 100% of the stock, membership, or

other equity interests in each of the following Debtors:

     Foxtrot Retail Incorporated
     Foxtrot Holdings Texas, Incorporated
     Foxtrot Retail DC, LLC
     Foxtrot Retail Florida, LLC

       6.      Debtor Foxtrot Holdings Texas, Incorporated owns 100% of the stock in Debtor

Foxtrot Intermediate Texas, Incorporated.

       7.      Debtor Foxtrot Intermediate Texas, Incorporated owns 100% of the stock in

Debtor Foxtrot Retail Texas, Incorporated.




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 Fill in this information to identify the case and this filing:


              Outfox Hospitality LLC
 Debtor Name __________________________________________________________________
                                                                            DE
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                    Consolidated Corporate Ownership Statement and List of Equity Holders; Creditor Matrix
         ; Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    05/14/2024
        Executed on ______________                         8 /s/ Caroline Barry
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Caroline Barry
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Secretary, Treasurer, and Designated Representative
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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B2030 (Form 2030) (12/15)


                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                             Chapter 7

DOMS MARKET LLC                                    Case No. 24-_______ (__)

                            Debtor.                EIN: XX-XXXXXXX

In re:                                             Chapter 7

DOMS MARKET HOLDCO INC.                            Case No. 24-_______ (__)

                            Debtor.                EIN: XX-XXXXXXX

In re:                                             Chapter 7

FOXTROT HOLDINGS TEXAS,                            Case No. 24-_______ (__)
INCORPORATED
                 Debtor.                           EIN: XX-XXXXXXX

In re:                                             Chapter 7

FOXTROT INTERMEDIATE TEXAS,                        Case No. 24-_______ (__)
INCORPORATED
                                                    EIN: XX-XXXXXXX
                            Debtor.

In re:                                             Chapter 7

FOXTROT RETAIL INCORPORATED                        Case No. 24-_______ (__)

                            Debtor.                EIN: XX-XXXXXXX

In re:                                             Chapter 7

FOXTROT RETAIL DC, LLC                             Case No. 24-_______ (__)

                            Debtor.                EIN: XX-XXXXXXX
                Case 24-11008-TMH           Doc 1     Filed 05/14/24     Page 24 of 25
B2030 (Form 2030) (12/15)


In re:                                                       Chapter 7

FOXTROT RETAIL FLORIDA, LLC                                  Case No. 24-_______ (__)

                             Debtor.                         EIN: XX-XXXXXXX

In re:                                                       Chapter 7

FOXTROT RETAIL TEXAS, INCORPORATED                           Case No. 24-_______ (__)


                             Debtor.                         EIN: XX-XXXXXXX


In re:                                                       Chapter 7

FOXTROT VENTURES, INCORPORATED                               Case No. 24-_______ (__)

                             Debtor.                         EIN: XX-XXXXXXX

In re:                                                       Chapter 7

OUTFOX HOSPITALITY LLC                                       Case No. 24-_______ (__)

                             Debtor.                         EIN: XX-XXXXXXX

In re :                                                      Chapter 7

OUTFOX HOSPITALITY MIDCO LLC                                 Case No. 24-_______ (__)

                             Debtor.                         EIN: N/A

            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

 1.       Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that I am the
          attorney for the above-named debtor(s) and that compensation paid to me within one year
          before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
          rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection
          with the bankruptcy case is as follows:

          For legal services, I have agreed to accept                           $425,000.00

          Prior to the filing of this statement I have received                 $425,000.00
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B2030 (Form 2030) (12/15)


        Balance Due                                                             $ 0.00

 2.     The source of the compensation paid to me was:

        ☒     Debtor                 ☐ Other (specify)

 3.     The source of compensation paid to me is:

        ☒     Debtor                 ☐ Other (specify)

 4.     ☒     I have not agreed to share the above-disclosed compensation with any other person
              unless they are members and associates of my law firm.

        ☐     I have agreed to share the above-disclosed compensation with another person or
              persons who are not members or associates of my law firm. A copy of the agreement,
              together with a list of the names of people sharing in the compensation, is attached.

 5.           In return for the above-disclosed fee, I have agreed to render legal service as follows:

                  a. Analysis of the debtor’s financial situation, and rendering advice to the debtor
                     in determining whether to file a petition for bankruptcy;
                  b. Preparation and filing of any petition, schedules, and statements of affairs;
                     and
                  c. Representation of the debtor at the meeting of creditors and any adjourned
                     hearings thereof.

 6.           By agreement with the debtor(s), the above-disclosed fee does not include the
              following services:

                  a. Representation of the debtor in adversary proceedings and other contested
                     bankruptcy matters.



                                         CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for
 payment to me for representation of the debtor(s) in this bankruptcy proceeding.

 05/14/2024                       /s/ Dennis A. Meloro
 Date                                   Signature of Attorney

                                    Greenberg Traurig, LLP
                                       Name of law firm
